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  7
  8
  9                          UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11                                   WESTERN DIVISION
 12   KORRELL COLE,                            2:23-cv-10392-SB(PDx)                         F
                                                                                             I
 13                      Plaintiff,
                                                   FIRST AMENDED COMPLAINT
 14                     v.                            (pursuant to 08/28/24 order)
 15   ROBERT LUNA, KATHRYN
 16
      BARGER, HOLLY MITCHELL,
      JANICE HAHN, HILDA SOLIS,                    CLASS ACTION ALLEGATIONS
 17   LINDSEY HORVATH, DEPUTY
      SHERIFF PALENCIA, DEPUTY                      DEMAND FOR JURY TRIAL
 18   SHERIFF PINEDA, DEPUTY
      SHERIFF PALACIOS, DEPUTY
 19   SHERIFF MARTINEZ,
      SERGEANT STELTER, and 10
 20   UNKNOWN, NAMED
      DEFENDANTS,                                    Judge Stanley Blumenfeld, Jr.
 21
                          Defendants.
 22
 23
            Plaintiff makes the following allegations in support of the this first amended
 24
      complaint:
 25
 26   //
 27   //
 28
      //

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  1                             JURISDICTION AND VENUE
  2
            1. Plaintiff, KORRELL COLE, is a Black person who asserts his federal
  3
      claims, pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1985(3) and subject matter
  4
      jurisdiction lies pursuant to 28 U.S.C. § 1331 of these federal claims.
  5
  6         2. The matters that are the bases for this action occurred in Los Angeles

  7   County, California, and in the City of Los Angeles, and therefore venue lies in the

  8   United States District Court for the Central District of California, and in its
  9   Western Division, pursuant to 28 U.S.C. § 1391.
 10                                      THE PARTIES
 11
            3. Plaintiff is a person who has been subject to Los Angeles Sheriff
 12
      Department ("LASD") police brutality and thuggery, and defendants are Los
 13
      Angeles County Sheriff ROBERT LUNA, in both his individual and official
 14
      capacities, Supervisors KATHRYN BARGER, HOLLY MITCHELL, JANICE
 15
      HAHN, HILDA SOLIS, and LINDSEY HORVATH, in their official capacities
 16
      only, DEPUTY SHERIFF PALENCIA, DEPUTY SHERIFF PINEDA,
 17
      DEPUTY SHERIFF PALACIOS, DEPUTY SHERIFF MARTINEZ,
 18
 19
      SERGEANT STELTER, in their individual capacities only, and 10 UNKNOWN,

 20
      NAMED DEFENDANTS.

 21         4. Defendants, each and all are sued in both their individual and official

 22   capacities, but only in their official capacities for the claims made under Monell v.
 23   Dep't of Soc. Svcs. of the City of New York, 436 U.S. 657 (1978), with respect to
 24   which defendants are sued only in their official capacities.
 25         5. Plaintiff is a person who was both a pre-trial detainee and a convicted
 26   person who was been brutalized and subjected to thuggery and subjected to
 27   constitutional violations at the hands of defendants.
 28


                                                 2
                                          2
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  1         6. Defendants and each of them played some material role in the acts and/or
  2   omissions alleged hereinbelow and in the setting of policies and customs of the
  3   LASD, and their unconstitutional policies, practices, procedures, and customs were
  4   the moving forces behind the constitutional violations inflicted on plaintiff.
  5                    ALLEGATIONS COMMON TO EACH COUNT
  6
             7. Each and every allegation set forth in each and every averment herein
  7   is incorporated by this reference in each and every other averment and allegation of
  8   this pleading.
  9         8. All acts and/or omissions perpetrated and/or engaged in by each
 10   defendant, in their individual capacities, were louche, and done maliciously,
 11
      callously, oppressively, wantonly, recklessly, with deliberate indifference to the
 12
      rights allegedly violated, despicably, with evil motive, and/or intent, in disregard
 13
      of the clearly-established rights of plaintiff, and in clear violation of the federal
 14
      Constitution and of the California Constitution, and of controlling federal law, both
 15
      statutory and common law, as set forth by both the United States Supreme Court
 16
      and the United States Court of Appeals for the Ninth Circuit.
 17
 18         9. Defendant Deputy Palencia worked at Works Module 3700 of the Mens'
 19
      Central Jail.
 20
 21         10. Defendant Watch Commander Unknown Named Defendant/John Doe #1
 22   worked the Jail as a jailer lieutenant, over Module 3700 “EM” Shift Jail Division,
 23
      and was responsible for the tracking, supervision, and conduct of deputies in jail.
 24
 25         11. Defendant Deputy Pineda worked at Works Module 3700 of the Jail,
 26
      as a Training Officer Deputy Jailer.
 27
 28


                                                  3
                                           3
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  1         12. Defendant Deputy Palacios worked at Works Module 3700 at the Jail, as
  2
      a Training Officer Deputy Jailer.
  3
  4         13. Sergeant Stelter #53134 worked at Works Module 3700 at the Jail as a
  5
      Sergeant, employee of Defendant County.
  6
  7         14. These deputy defendants unlawfully used excessive force against
  8
      plaintiff and assaulted, battered, harassed, and retaliated against him for utilizing
  9
      the complaint/grievance process, and this action also is against the Los Angeles
 10
 11   County Sheriff, defendant Robert Luna, as the supervisory officer responsible for
 12
      the conduct of defendants, and for his failure to take corrective action with respect
 13
 14   to Sheriff personnel whose vicious propensities were notorious, to assure proper
 15
      training and supervision of the personnel, and to implement meaningful procedures
 16
 17
      to discourage lawless official conduct. This action is brought pursuant to 42 U.S.C.

 18   §§ 1983, 1985 & 1986, and the First, Eighth, and Fourteenth Amendments to the
 19
      Constitution of the United States.
 20
 21         15. At the time of the wrongful conduct alleged herein, the plaintiff was both
 22
      a pretrial detainee and a convicted person who was in the custody of the Los
 23
 24   Angeles County Sheriff’s Department and was confined in the Los Angeles County

 25   Men’s Jail ("the Jail"), which is an antiquated, medieval-like, 65-year-old,1 hell-
 26
 27
      1
 28    See Wikipedia article on Men's Central Jail, attached hereto as Exhibit 1, and
      whose contents hereby are incorporated herein by this reference.

                                                 4
                                           4
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  1   hole, operated by both defendants Luna and supervisors Barger, Hahn, Solis,
  2
      Mitchell, and Horvath, all of whom both refuse to remedy all of its constitutional
  3
  4   deficiencies and refuse to shutter it. See "Men's Central Jail faces 'severe structural
  5
      damage' in earthquake, report says," Los Angeles Times, Aug. 27, 2024, and other
  6
  7   Times articles attached hereto as Exhibit 2, and all of whose contents are
  8
      incorporated herein by this reference.
  9
            16. At approximately 10:10 p.m. on September 14, 2023, at the Los Angeles
 10
 11   County Men’s Jail, plaintiff was escorted by Defendant Palencia from the library in
 12
      Module 1750 to Module 3700-Denver Row.
 13
 14         17. After arriving at 3700-Denver Row, plaintiff changed the channel on the
 15
      television, and then asked Defendant Palencia if he could get his previously-
 16
 17
      authorized daily shower and grievances.

 18         18. Defendant Palencia suddenly became aggressive and approached
 19
      plaintiff in a physically threatening manner and mumbled something to the effect
 20
 21   of “keep filing grievances and I’ll call and see what happens to you.”
 22
            19. Then defendant Palencia ordered plaintiff to turn around, to be
 23
 24   handcuffed. Plaintiff complied, without any resistance.

 25         20. Defendant Palencia placed handcuffs on plaintiff’s wrists, then
 26
      maliciously adjusted the handcuffs around his wrists excessively tightly, causing
 27
 28   plaintiff to suffer from extreme pain, discomfort, and to cut off circulation.


                                                 5
                                          5
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  1          21. Plaintiff complained that the handcuffs were too tight.
  2
             22. Defendant Palencia ignored him.
  3
  4          23. Defendant Palencia took hold of plaintiff’s arm from behind and
  5
      escorted plaintiff down a passageway and to the top of a steep, wet, unlit stairwell.
  6
  7          24. Unprovoked and without warning, Defendant Palencia maliciously
  8
      wrenched plaintiff’s restrained arm and forcibly heaved plaintiff forward, and
  9
      intentionally caused plaintiff to lose his footing and toplunge headfirst down the
 10
 11   stair case.
 12
             25. Defendant Palencia did not make any effort towards helping prevent
 13
 14   plaintiff from falling down the stairwell.
 15
             26. By doing this, Palencia violated departmental policies and procedures.
 16
 17
             27. Defendant Palencia and his partner Martinez, just stood at the top of the

 18   stairwell for moments and laughed, after Palencia deliberately pushed the
 19
      restrained plaintiff down a flight of stairs, nearly killing plaintiff, via a broken neck
 20
 21   or deadly blow to the head. Then defendant Palencia struck plaintiff in the chest.
 22
             28. Defendant Palencia and his partner Martinez stole plaintiff’s plastic bag
 23
 24   of legal paperwork and never returned it.

 25          29. After the deadly incident, plaintiff was placed on a gurney by the Los
 26
      Angeles Fire Department and rushed to the hospital in an ambulance.
 27
 28


                                                   6
                                          6
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  1         30. Defendant Palencia’s use of excessive and deadly force on the
  2
      unresisting plaintiff left plaintiff hospitalized, wearing a neck brace, and
  3
  4   temporarily paralyzed from the waist down.
  5
            31. Defendants Training Officers Pineda and Palacios of Module 3700 are
  6
  7   directly responsible for failing properly to train trainee Palencia.
  8
            32. On 9/16/2023, at the 3700-Denver row, grievance receptacle, at
  9
      approximately 9:28 am, plaintiff filed grievances against defendant Palencia for
 10
 11   retaliation, excessive force, and racially-motivated mistreatment, and this was done
 12
      in full view of surveillance video cameras. Plaintiff never received a response to
 13
 14   his grievances. (Exhibit A, to original complaint, Doc. 1).
 15
            33. On 10/1/2023, plaintiff filed an appeal for the Sheriff’s failure to
 16
 17
      properly process and investigate his grievances against staff member Palencia, et

 18   al., within the 15-day time limit mandated on the grievance form. The appeal also
 19
      was ignored by jail supervisors. Plaintiff’s grievances are regularly mishandled by
 20
 21   jail supervisors.
 22
            34. Over a time span of about eight months, plaintiff filed multiple personnel
 23
 24   complaints/grievances against Defendant Palencia, for staff misconduct and

 25   dereliction of duty, which defendant Palencia was embroiled in pending complaints
 26
      against him by Plaintiff and other detainees. (See Exhibit A)
 27
 28


                                                 7
                                          7
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  1         35. On 9/10/2023, 3000-Floor defendant Sergeant Stelter approached
  2
      plaintiff’s cell with multiple written complaints in his hand against defendant
  3
  4   Palencia, for misconduct.
  5
            36. Defendant Sgt. Stelter only briefly questioned plaintiff and other
  6
  7   detainees about the grievances, but Stelter never actually processed the complaints,
  8
      provided any reference numbers so that the complaints could be tracked in any
  9
      database.    37. This included the grievance in which plaintiff expressed he feared
 10
 11   for his safety as to Palencia.
 12
            38. None of the grievances plaintiff filed against defendant Palencia ever
 13
 14   were properly processed and investigated. Yet, defendant Palencia seemed to be
 15
      well-aware that plaintiff was complaining about his behavior.
 16
 17
            39. On September 7, 2023, defendant Palencia approached plaintiff in a

 18   physically threatening and menacing manner, and threatened to deploy excessive
 19
      force against plaintiff, exclaiming: “I’ll cuff you up, then fuck you up.”
 20
 21         40. When Plaintiff responded “What’s wrong with you, dude?”, defendant
 22
      Palencia replied “Nobody gives a fuck about your grievances. On google, it said
 23
 24   you’re never going home anyway. You shot at a white officer idiot. See! Black

 25   Lives Don’t Matter!”, as he walked away down the tier, apparently already aware
 26
      of the grievances filed against him.
 27
 28


                                                8
                                         8
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  1         41. Plaintiff was convicted and sentenced in 2022, and at the time of the
  2
      incidents alleged herein he was detained in Los Angeles County jail, on unrelated
  3
  4   non-violent charges, as both a convicted person and as a pre-trial detainee.
  5
            42. The incident in aver. 40, made plaintiff afraid to continue filing
  6
  7   grievances and had a chilling effect on the exercise of plaintiff’s rights to petition
  8
      the government for a redress of grievances, which is protected conduct. But filing
  9
      grievances was plaintiff’s only way to document the fact that defendant Palencia
 10
 11   continued to engage in various retaliatory actions against plaintiff, as a result of
 12
      him filing grievances. This was a tragic irony.
 13
 14         43. The Jail grievance process is unavailable and futile.
 15
            44. The Jail staff ignore grievances and threaten to retaliate for filing them.
 16
 17
            45. This is the custom.

 18         46. Plaintiff filed grievances but defendants refused to respond to his
 19
      grievances or properly to process and investigate his grievances. There exist copies
 20
 21   of complaints filed and grievances were filed on video camera.
 22
            47. After plaintiff requested responses to his grievances, he on-goingly was
 23
 24   subjected to repeated threats of retaliation and violence against plaintiff and his

 25   relatives for filing grievances.
 26
            48. On September 9, 2023, Defendant Palencia maliciously deactivated
 27
 28   plaintiff’s telephone account, so that he couldn’t communicate with the outside


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                                          9
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   1   world and his legal team, then ignored multiple detainees needing medical
   2
       attention for hours and unleashed a profanity-laced tirade over the module
   3
   4   loudspeaker, screaming: “3k Boys! We are the hardest gang here!” Meaning “3000
   5
       Boys,” a Sheriff’s Deputy Gang originating on the 3000 floor, where this occurred.
   6
   7   A grievance was filed. (See Exhibit A).
   8
             49. Defendant Palencia is a self-proclaimed deputy gang member, who is
   9
       part of a sheriff’s deputy gang called "the 3000 Boys."
  10
  11         50. Defendant Stelter reviewed all of these grievances on 9/10/2023, and
  12
       failed to do anything whatsoever to protect plaintiff’s safety.
  13
  14         51. Instead, there was yet more retaliation ensued.
  15
             52. Stelter could’ve prevented all of this, but he refused to take away any
  16
  17
       action to prevent harm.

  18         53. By having personal knowledge of defendant Palencia’s illegal actions,
  19
       failing to correct that misconduct, and encouraging the continuation of the
  20
  21   misconduct, defendant Stelter also violated plaintiff’s rights under Fourth and
  22
       Eighth Amendments to the Constitution and caused plaintiff pain, suffering,
  23
  24   physical injury, and emotional distress.

  25         54. Plaintiff was on-goingly subjected to a retaliatory campaign of
  26
       harassment by numerous 2000/3000/1750 Floor deputies (gang members and gang
  27
  28   associates) who repeatedly used threats, intimidation, lies, and coercion to try to


                                                  10
                                          10
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   1   dissuade plaintiff from prosecuting personnel complaints/grievances and civil
   2
       actions, even going so far as to try to get plaintiff to distort the truth and change his
   3
   4   version of the events.
   5
             55. The key participants of the campaign of retaliation include, but not
   6
   7   limited to, the following deputies,: Module 3700 deputies Paz, Training officer
   8
       Pineda, Palencia, Training Officer Palacios, Training Officer Blake, Sergeant
   9
       Fernandez, Clara Shortridge Foltz, Court House Sergeant M. Fernandez, Legal
  10
  11   Unit Sergeant Michael Larsou, Custody Assistant Donald Hinton, Sergeant Stelter,
  12
       Sergeant Duck-Worton,, Sergeant Floes, Sergeant Rickell, Lt. Guardman, Custody
  13
  14   assistant Gutierrez, Sergeant Bueno Cortez, Sergeant Miranda, Sergeant Cliver,
  15
       3700 Training Officer Masuda, Training Officer Hernandez, Duniser, Barrientos,
  16
  17
       Ibarra, C/A Pineda, Deputy Hernandez working on 9/14/23 at 11:00 pm,

  18   Huddleston Ramirez, Rondox, Mendez, Legal Unit Kennedy, Captain Walker, Lt.
  19
       Montoya, Olivares 3300 Hernandez Sergeant Estrada, Aldama Johnson, Lefevre
  20
  21   Salenpour, other Paz, Valle, Horn, all 3000 Floor Sergeants, Ramirez, etc. Franco,
  22
       Lineali, Barragan, Wright, Podroza, Zepeda, Zamorea, Harrisdon, Rouderos,
  23
  24   Cisneros, Hennessey, Capacata, Sgt. Gutierrez, Garcia, 1750 Hernandez.

  25         56. The actions described above were committed by the defendants in full
  26
       view of surveillance cameras.
  27
  28


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                                           11
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   1         57. After the aforementioned retaliatory use of force against plaintiff,
   2
       defendant Palencia, on 9/15/23, maliciously and without true facts, went before a
   3
   4   sergeant of Los Angeles County Sheriff’s Department, and charged plaintiff with a
   5
       false disciplinary action and wrote a false report claiming the incident was
   6
   7   plaintiff’s fault, and not the defendant Palencia’s fault.
   8
             58. The aforesaid disciplinary action was terminated in favor of plaintiff, but
   9
       with no discipline given by the Sergeant.
  10
  11         59. As a result of the misconduct hereinbefore described, plaintiff
  12
       experiences humiliation, emotional distress, pain, and suffering, and was otherwise
  13
  14   damaged. He was also severely physically injured as a result of conduct alleged.
  15
             60. The abuse to which plaintiff was subjected was inflicted as the result of
  16
  17
       and was caused by the institutionalized practice of the Los Angeles County

  18   Sheriff’s Department, which was known to, and ratified by Defendants: Los
  19
       Angeles County Sheriff’s Department, defendant Luna, and the County, with the
  20
  21   defendants having at no time taken any effective action to prevent LASD personnel
  22
       from continuing to engage in such abhorrent misconduct.
  23
  24         61. Defendant Luna had prior notice of the vicious propensities of his

  25   deputies and defendant deputies, but took no steps to train them, correct their abuse
  26
       of authority, or to discourage their unlawful use of authority. The failure to
  27
  28   properly train defendants included the failure to instruct them in applicable


                                                 12
                                           12
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   1   provisions of the U.S. Constitution and the California State Penal Code and with
   2
       proper and prudent use of force.
   3
   4         62. Defendant Luna, who has been Los Angeles County Sheriff since Dec. 5,
   5
       2022, and who before that was City of Long Beach Police Chief from 2014-2021,
   6
   7   who thus was a very-experienced chief law enforcement officer, to-date of over 10
   8
       years' experience, and the supervisor defendants, all ratified, condoned, approved
   9
       of, acquiesced in, authorized, tolerated, and were the moving forces behind the
  10
  11   institutionalized practices, and all of the misconduct hereinbefore detailed, by:
  12
             a. Failure to properly discipline, restrict, and control employees, including
  13
  14            defendants Palencia, Pineda, Palacios, and Martinez, and the other
  15
                deputies whose names are set forth in aver. 55;
  16
  17
             b. Failing to take adequate precautions in the hiring, promoting, and

  18            retention of police personnel, including deputies listed in a;
  19
             c. Failing to forward to the office of the District Attorney of Los Angeles
  20
  21            County evidence of criminal acts committed by Sheriff personnel;
  22
             d. Failing to establish and/or assure the functioning of a bona fide and
  23
  24            meaningful departmental system for dealing with complaints/grievances

  25            of police misconduct, but instead failing to respond to such complaints,
  26
                or responding to such complaints with mis-used bureaucratic power and
  27
  28


                                                13
                                          13
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   1             official denials calculated to mislead the public. This conduct constitutes
   2
                 gross negligence under state law;
   3
   4         e. Failing to remedy the unconstitutional conditions of confinement at the
   5
                 Jail; and,
   6
   7         f. Failing to demolish the Jail.
   8
             63. As a consequence of the abuse of authority detailed above, plaintiff
   9
       sustained damages hereinbefore alleged.
  10
  11         64. Los Angeles County Deputies repeatedly interfered with plaintiff’s civil
  12
       rights by threats, intimidation, and coercion against plaintiff and his family
  13
  14   members, after he filed grievances and court documents against them. Plaintiff is in
  15
       genuine fear for his life of deputy sheriff gang members and their associates, who
  16
  17
       engage in deputy gang violence against arrestees.

  18
             65. The plaintiff in this action, during his imprisonment in the Jail suffered
  19
       from and was injured by unconstitutional and intolerably bad conditions at the Los
  20
  21
       Angeles County Men's Central Jail, and they included, inter alia, the following:

  22         a. Bad plumbing, with broken toilets in his numerous cells, over-flowing
  23         with urine and feces, all over the floors in his cells, which sometimes went
  24         on and destroyed his property and belongings, and which he had to clean-up
  25         himself; and,
  26         b. Roaches were all over his cells that he lived in, which he had to kill, and
  27
             being woken up in the middle of the night, with roaches in his bed, crawling
  28
             on him.

                                                 14
                                          14
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   1         66. The Los Angeles County Sheriff Department has and fosters customs of
   2   denial of the right to petition government, by refusing to process inmate
   3   grievances, in violation of the First Amendment, and of the use of excessive force
   4   by its deputies, in violation of the Fourth Amendment, and of unconstitutional
   5   conditions of confinement, in violation of both the Eighth Amendment cruel and
   6
       unusual punishment clause (for convicted detainees) and the Fourteenth
   7
       Amendment due process clause (for pre-trial detainees).
   8
             67. The custom of use of excessive force includes, for example, uses of
   9
       excessive force against the following persons: Enzo Escalante (March 10, 2021, in
  10
       custody), Christopher Francis (Sept. 22, 2023 and April 18, 2024, in custody),
  11
       Korrell Cole (Sept. 24, 2023, in custody), Jesus Medina (May 24, 2020, not in
  12
       custody).
  13
             68. The custom of unconstitutional conditions of confinement includes
  14
       infliction on the following prisoners: James Boyd (2019-present), Korrell Cole
  15
       (2022-2023), Christopher Francis (2023-present), Jesus Medina (2023-2024), and
  16
       Enzo Escalante (2021-2023).
  17
                                         COUNT ONE
  18                       (Against All Defendants, 42 U.S.C. § 1983)
  19         69. Plaintiff realleges specifically the allegations set forth in above
  20   averments, and, by virtue thereof, all defendants are liable to plaintiff, pursuant to
  21   42 U.S.C. § 1983, for violation of plaintiff's First, Fourth, Eighth, and Fourteenth
  22   Amendment rights, to be able to petition government, not to be subjected to
  23   unreasonable searches, seizures, stops, arrests, and excessive force, not to be
  24   subjected to cruel and unusual punishments and to unconstitutional conditions of
  25
       confinement.
  26
             70. Defendant Luna is responsible for the constitutional violations set forth
  27
       in averment 69 and for the violations committed by the deputy sheriff defendants,
  28
       because he sets the policies and accepted the customs of the LASD, among which

                                                 15
                                          15
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   1   were unconstitutional, brutalization of jail prisoners, and plaintiff herein was
   2   subjected to such brutalization and thuggery.
   3                                     COUNT TWO
   4                  (Against All Defendants, for Conspiracy Under § 1983)
   5          71. Plaintiff realleges specifically hereat the allegations set forth
   6   hereinabove, and, by virtue thereof, all defendants also are liable to plaintiff for
   7   conspiracy to violate plaintiff's First, Fourth Amendment, Eighth, and Fourteenth
   8   Amendment rights, pursuant to § 1983, because they had an agreement and/or
   9   understanding that the wrongs perpetrated would be perpetrated, and then they
  10   were perpetrated, by the LASD defendants, beating the crap out of plaintiff, by
  11   throwing him down a flight of stairs, while he was handcuffed behind his back.
  12          72. Defendant Luna for many years has been aware of and permits and
  13   condones deputy misconduct, so that LASD officers free to violate the
  14   Constitution's First, Fourth, Eighth, and Fourteenth Amendments, and here did so,
  15   and he failed to investigate, and covered-up, what occurred in this matter,
  16
       notwithstanding that he had access to a videotape of the incident, and thereby
  17
       approved of it, condoned it, acquiesced in it, and ratified it, with a meeting of their
  18
       minds that this kind of unconstitutional conduct would occur.
  19
                                       COUNT THREE
  20                    (Against Defendant Luna, Under Sec. 1983, Monell)
  21          73. "[When] the complaint plausibly alleges a policy, custom, or practice
  22   leading to that violation[, s]ee Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,
  23   173 L.Ed.2d 868 (2009)[,] [and] Plaintiffs' allegations amount to . . . more than an
  24   'isolated or sporadic incident[ ]' that . . . forms the basis f Monell liability for an
  25   improper custom. Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996) [prosecuted
  26   by plaintiff's counsel herein]." Saved Magazine v. Spokane Police Dep't, 19 F.4th
  27   1193, 1201 (9th Cir. 2001).
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   1         74. Herein, Defendant Luna is liable to plaintiff because he had and has, and
   2   fosters, policies, practices, procedures, and customs of First, Fourth, Eighth, and
   3   Fourteenth Amendment violations by members of LASD, which policies, etc., in
   4   violation of the these Amendments, were the moving forces that caused the
   5   violation of the plaintiff's rights, as alleged herein, and, also he is a supervisor
   6   defendant who is liable because there is a custom of improperly indemnifying, and
   7   of conspiring to indemnify, LASD officers for punitive damages assessed against
   8   those deputies by juries in civil rights cases, or settling those cases to avoid having
   9   to decide on whether or not to make such indemnifications, because that practice
  10   was a moving force that caused the violations of the plaintiff's rights as alleged
  11   herein.
  12                                      COUNT FOUR
  13                         (Against All Defendants Under § 1985(3))
  14         75. Each deputy sheriff defendant agreed and/or understood and conspired
  15   with at least one other deputy defendant to deprive a plaintiff of the equal
  16   protection of the laws, in violation of 42 U.S.C. l985(3), based on a racially-
  17   motivated bias against the plaintiff; and the official capacity defendant could have,
  18   but did not, prevent the violations of Section 1985(3).
  19         76. Therefore, any deputy sheriff defendant is liable to plaintiff under
  20   Section 1985(3), and defendant Luna, who had the power and/or opportunity
  21   and/or duty to prevent, but who failed to prevent any violation of Section 1985(3),
  22   is liable to plaintiff under 42 U.S.C.1986.
  23         77. Luna, as an official capacity defendant, is liable to plaintiff for all
  24   wrongs alleged in this pleading pursuant to Monell, supra. This alleged conspiracy
  25   is separate from the simple, non-racially-based conspiracy alleged hereinabove.
  26
                                   CLASS ACTION ALLEGATIONS
  27
             78. Plaintiff is a member of four classes, whose defining characteristics are
  28
       that they are persons who were subjected to First, Fourth, Eighth, and Fourteenth

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   1   Amendment violations, at the hands of defendants, at the Los Angeles County
   2   Mens' Central Jail, by virtue of: (1) being deprived of the right to petition
   3   government, by filing jail administrative grievances; (2) being subjected to
   4   unreasonable force at the hands of deputy sheriffs, while in custody and/or in the
   5   Jail; (3) being subjected to unreasonable force at the hands of deputy sheriffs; and
   6
       (4) being subjected to physical conditions at the Jail that are deplorable and
   7
       "horrific" and that have been for many years and are unconstitutional.
   8
             79. Classes (1), (2), and (3) each contain at least 1,000 people, and class (4)
   9
       contains at least 100,000 people, so that the classes each are so numerous so that
  10
       joinder of all members is impracticable.
  11
             80. There are only common questions of fact and of law with respect to all
  12
       class members of each class.
  13
             81. The claims made by the representative party of each class, plaintiff, are
  14
       typical of the claims of each class member.
  15
             82. The representative of the class, plaintiff, more than fairly, vigorously,
  16
       and zealously will represent and adequately protect the interests of all class
  17
       members, both themselves and through their very zealous attorney.
  18
  19
             83. Prosecution of separate actions by individual class members would

  20
       create a risk of inconsistent and/or varying adjudications with respect to class

  21   members, which would establish incompatible standards for parties opposing the

  22   classes.
  23         84. Defendants have acted and will continue to act on grounds generally
  24   applicable to every class member in both classes, and the class questions not only
  25   predominate but are the only questions that exist, and this action is the far superior
  26   manner to other available methods for fairly and efficiently adjudicating the
  27   controversies.
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   1         85. The class members' interests in individually controlling the prosecution
   2   or defense in separate actions do not exist, and there are no anticipated difficulties
   3   in managing this class action, especially as to identification of the amount of
   4   damages, identification of class members, and providing actual notice to virtually
   5   all class members.
   6
             86. Therefore, this action is maintainable under Fed. R. Civ. P. Rule 23(a),
   7
       & 23(b)(1)(A),(B)(1), (2), and (3).
   8
             87. Although there would appear to be no notice requirement as to (B)(1) &
   9
       (2) classes, the nature of the notice to be provided to class members would be
  10
       decided by the court.
  11
             88. The definitions of the four classes are as follows: (1) all Los Angeles
  12
       County Mens' Central Jail prisoners during the class period, Dec. 2019 to the date
  13
       this action goes to trial, who were subjected to excessive force by deputy sheriffs;
  14
       (2) all persons during the class period Dec. 2021 to the date this action goes to
  15
       trial, who were subjected to excessive force by deputy sheriffs; (3) all Los Angeles
  16
       County Mens' Central Jail Prisoners during the class period, Dec. 2019 to the date
  17
       this action goes to trial, who were subjected to unconstitutional conditions of
  18
  19
       confinement; and (4) all Los Angeles County Mens' Central Jail Prisoners during

  20
       the class period, Dec. 2019 to the date this action goes to trial, who were subjected

  21   to unconstitutional deprivation of their right to petition government by reason of

  22   their not being avail themselves of a working and honest jail grievance process.
  23   //
  24         WHEREFORE, plaintiff requests relief on behalf of himself and on behalf
  25   of each class member against each defendant as follows:
  26         1. Compensatory damages $1,000,000;
  27
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   1         2. Punitive damages on all non-Monell claims, in sums to be determined by
   2   a jury, and as a percentage of the net worth of each defendant, in sums sufficient to
   3   deter future misconduct, and not less than $10,000,000 per defendant;
   4         4. The costs of action and interest;
   5         5. Attorneys’ fees; and,
   6
             6. Such other relief as is just and proper.
   7
                                        JURY DEMAND
   8
             Plaintiff demands trial by jury of all issues.
   9
  10
                               YAGMAN + REICHMANN, LLP

  11                                By: /s/ Stephen Yagman
  12                                   STEPHEN YAGMAN
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